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                             Exhibit A




                                                                      Exhibit A
                                                                       000012
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                                   REPUBLIC OF HONDURAS
                                             [logo]



                                    TRANSCRIPT

                                             OF

                                   PUBLIC DEED

                                            No. 337.

     Of                               CARE AND CUSTODY



     Granted by:     ERLIN YOBANY MOLINA ZELAYA AND SILVIA DEL CARMEN CANO
                     GARCIA.


     In favor of     EGLA AREL Y VELASQUEZ MOLINA




                                   AUTHORIZED BY NOTARY

                               MARIO AQUILES UCLES HERRERA.


                                   CATACAMAS, 04 MAY 2016




                                                                              Exhibit A
                                                                               000017
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                Case 1:18-c(:392 Document 1-1 Filed 10/17/:i{'>age 7of19



                                  SUPREME COURT OF JUSTICE
                            REPUBLIC OF HONDURAS, CENTRAL AMERICA
     [logo:] SPECIAL NOTARIAL PAPER                      [stamp:] COLLEGE OF ATTORNEYS OF
                                                         MORAZAN
     TWENTY LEMPIRAS                                     [illegible] [signature] 5.00 LEMPIRAS
     2016-2019                                           [stamp:] [illegible]

     No. 2117932

                                                RECORD
     PUBLIC INSTRUMENT NUMBER THREE HUNDRED AND THIRTY-SEVEN (337),
     In the city of Catacamas, Department of Olancho, at nine o'clock in the morning (9:00 A.M.) on
     Friday, the fourth (04) of the month of May of the year Two Thousand and Sixteen (2016)- In
     my presence, MARIO A QUILES UCLES HERRERA, Attorney and Notary Public, residing in
     Tegucigalpa, Municipality of the Central District, Department of Francisco Morazan, with his
     Legal Office located at Avenida Miguel Cervantes, Edificio San Cayetano, 3rd level, cubicle No.
     304, Tegucigalpa, M.D.C. [Municipality of the Central District], with identification card number
     zero nine zero six (No. 0906), of the College of Attorneys of Honduras, and Exequatur Eight
     hundred and eighty-six (No. 886) of the Honorable Supreme Court of Justice, with telephone
     number 2220-0024, of this City for the time being, appearing personally before me Messrs.
     ERLIN YOBANY MOLINA ZELAYA, of legal age, single, Honduran, and with his address in
     the City of Catacamas, Department of Olancho, acting on his own behalf and in his own name,
     SILVIA DEL CARMEN CANO GARCIA, of Legal Age, Single, Honduran, and with her
     address in the City of Catacamas, Department of Olancho, acting on her own behalf and in her
     own name and EGLA AREL Y VELASQUEZ MOLINA, of legal age, single, high school
     graduate in Arts and Sciences, Honduran, and with her address in the City of Catacarnas,
     Department of Olancho; Who assure me that they are in full enjoyment of exercise of their civil
     rights, freely and spontaneously declare - FIRST: The agreeing parties ERLIN YOBANY
     MOLINA ZELAYA and SIL VIA DEL CARMEN CANO GARCIA, declare that they are the
     Biological Parents of the minor EYARIN BRIYANA MOLINA CANO, of Honduran
     nationality, who was born on the Eighth (8 1h) day of the month of June of the year Two Thousand
     and Eight (2008) in the Municipality ofCATACAMAS, Department ofOLANCHO, as stated in
     the Certification of




                                                                                             Exhibit A
                                                                                              000018
Case 3:18-cv-00428-DMS-AHG Document 289-2 Filed 10/23/18 PageID.4522 Page 8 of 19
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     Birth Certificate No. 1503-2009-00769, located in folio 082, of Volume 00643, of the year 2009
     - SECOND: The agreeing parties ERLIN YOBANY MOLINA ZELAYA and SILVIA DEL
     CARMEN CANO GARCIA manifest That by means of this Act they grant in a voluntary
     manner the CARE AND CUSTODY of their minor child EYARIN BRIYANA MOLINA
     CANO to the appearin~ party EGLA ARELY VELASQUEZ MOLINA, in virtue of finding
     ourselves obligated to do so due to work, we are out of the City for long periods of time, and
     given that the appearing party EGLA ARELY VELASQUEZ MOLINA is the person who has
     taken care of the minor since her birth, since she is our closest relative and is entirely worthy of
     our trust we grant her among other rights and obligations that of Representing her Legally to
     exercise her Care and Custody: feed her. take care of her. educate her and manage her wellness
     as necessary. as well as being able to perform any Migratory movements. - The aforesaid
     granting is for an INDEFINITE PERIOD OF TIME. - THIRD: Conversely, the appearing
     party EGLA AREL Y VELASQUEZ MOLINA states That the aforesaid statements of the
     appearing parties ERLIN YOBANY MOLINA ZELAYA and SILVIA DEL CARMEN
     CANO GARCIA are entirely true, and that she accepts each and every one of the
     OBLIGATIONS AND RIGHTS conferred onto her - All of which, of the knowledge, age,
     marital status, profession or trade, nationality and legal residence of one and the others. - As
     well as the notification of the obligations that they have to fulfill, the registration of this
     Instrument in the Corresponding Institute of the Registry of Deeds and Commercial Property and
     having viewed the following documents: a) Background of the Domain of the real estate property
     that is the object of the Donation. b) Personal documents of the appearing parties which, as
     ordered, are the Identification Document ONE FIVE TWO ZERO DASH ONE NINE NINE
     TWO DASH ZERO ZERO TWO FIVE FOUR (1520- 1992-00254), ONE FIVE ZERO THREE
     DASH ONE




                                                                                                Exhibit A
                                                                                                 000019
Case 3:18-cv-00428-DMS-AHG Document 289-2 Filed 10/23/18 PageID.4523 Page 9 of 19
                case 1:1s-c("392 Document 1-1 Filed 10/17/i("'age 9of19



                              SUPREME COURT OF JUSTICE
                       REPUBLIC OF HONDURAS, CENTRAL AMERICA
     [logo:] SPECIAL NOTARJAL PAPER
     TWENTY LEMPIRAS
     2016-2019


     No. 2106917
     NINE EIGHT NINE DASH ZERO TWO THREE EIGHT ZERO (1503-1989-02380) and
     ONE FIVE ZERO THREE DASH ONE NINE EIGHT EIGHT DASH ZERO ZERO
     FOUR EIGHT SEVEN (1503-1988-00487) I ATTEST.
     SIGNATURE AND FINGERPRINT OF ERLIN YOBANY MOLINA ZELAYA,
     SIGNATURE AND FINGERPRINT OF SILVIA DEL CARMEN CANO GARCIA,
     SIGNATURE AND FINGERPRINT OF EGLA ARELY VELASQUEZ MOLINA,
     SIGNATURE AND NOTARIAL STAMP [of] MARIO AQUILES UCLES HERRERA
     AND as per the requirement of the appearing party EGLA ARELY VELASQUEZ MOLINA, I
     grant, stamp and sign this first copy in the same place and date of its granting on the
     corresponding stamped document, and with the duly settled legal stamps, verifying its original
     copy with the one that corresponds to my pre-inserted protocol number of the current year in
     which I recorded this release. I ATTEST.


     [stamp in left margin:] [illegible]

                                                [signature]
                                                [stamp:] MARJO AQUILES UCLES HERRERA
                                                NOTARY
                                                [illegible]
                                                HONDURAS, CENTRAL AMERICA




                                                                                           Exhibit A
                                                                                            000020
Case 3:18-cv-00428-DMS-AHG Document 289-2 Filed 10/23/18 PageID.4524 Page 10 of 19
                case 1:1a-c('392 Document 1-1 Filed 1011111(""age 10of19




   ti
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                 City of New York, State of New York, County of New York




                 I, Aurora Landman, hereby certify that the document, "Transcript of Public Deed" is, to
                 the best of my knowledge and belief, a true and accurate translation from Spanish into
                 English.




                 Aurora Landman



                 Sworn to before me this
                 September 24, 2018




                Stamp, Notary Public




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                                                                                                        ExhibilA
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Case 3:18-cv-00428-DMS-AHG Document 289-2 Filed 10/23/18 PageID.4525 Page 11 of 19
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                case 1:1s-cr392 Document 1-1 Filed 10/17/l(''age 12of19



                                                      [logo]
                                         MINISTRY OF EDUCATION
                                 DEPARTMENTAL OFFICE OF EDUCATION
            C.E.B. [Centro de Educaci6n Basica (Basic Education Center)] "CONCEPCION AMADOR"
                                          CATACAMASOLANCHO
                                                TEL. 2799-5445



                                                CERTIFICATION


     The undersigned Director of the Concepci6n Amador Basic Education Center of the district of San
     Francisco, municipality ofCatacamas, Department ofOlancho,


     Hereby certifies that the student EYARIN BRIYANA MOLINA CANO was under the guardianship of
     EGLA ARELY VELASQUEZ MOLINA at the time of her studies in the institution.


     And in witness whereof, this document is signed on the 24 111 day of the month of August of the year 20 I 8.




                                               [stamp:] MINISTRY OF EDUCATION
                                               BASIC EDUCATION CENTER
                                               DIRECTORATE
                                               CONCEPCION AMADOR
                                               CATACAMAS

                                               [signature]
                                               DIRECTOR
                                               MARTIN ZELAYA




                                                                                                         Exhibit A
                                                                                                          000023
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                                ~                                .              ~
                Case 1:18-c~         392 Document 1-1 Filed 10/17/lf~                age 13of19




   II
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                 City of New York, State ofNew York, County ofNew York




                 I, Aurora Landman, hereby certify that the document, "DEPARTMENTAL OFFICE
                 OF EDUCATION- CERTIFICATION" is, to the best of my knowledge and belief, a
                 true and accurate translation from Spanish into English.




                 Aurora Landman



                 Sworn to before me this
                 September 24, 2018




                Stamp, Notary Public




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                                                                                                        Exhibit A
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                        Case 1:1s-crl92 Document 1·1 Filed 10/17/l('age 15of19
 [logo:] RNP                                                    REPUBLIC OF HONDURAS                                                                      No, 59577875
                                                            NATIONAL REGISTRY OF PERSONS
                                                              MUNICIPAL CIVIL REGISTRY


                                                          CERTIFICATION OF BIRTH CERTIFICATE
                                                                                        [QR code]
The undersigned Municipal Civil Registrar CERTIFIES that a birth certificate with number:
                         l11slol3l-lzlolol91-lolol116l9l    ldo11/lnt.•u//m1 N11nrMr

is in the Archives of Births of this office located on folio~ of volume~ for the year Zl!!!2 and it belongs to:
a)                               MOLINA                                                      b)                                       CANO
                                Firs/ I.as/ Name                                                                               Second Las/ Name
c)                                                                                                                           F llll                  MD

and whose information is the following:

I) Place, date and order of birth


     •)            CATACAMAS                               b)                          OLANCHO                          c)                          HONDURAS
                         City                                                          Depar1men1                                                     Country

     d)               EIGHT                                •)                           JUNE
                         Day                                                             Mon1h

2.) Identity number, last names, first name and nationality of the father;                                  l</e11tlty No.: I $20·1992-00254

     a) ~~~~~~~~M~O~l~IN.~~"-~~~~~~­                                                              b) ~~~~~~~~~Z~E~LA~YA~~~~~~~~~
                                First Last Name                                                                 Second Last Name
     c)                         ERL/N YOBANY                                                      d) ~------~H~O~N~D~UR7.A=N------~~
                                       Name                                                                        Nationality

3.) Identity number, last names, first name and nationality of the mother:                                 Identity No.: 1503-1989-02380

     a) ~~~~~~~_,,CA~N'-"'O~~~~~~~­                                                               b) ~~~~~~~~~G~~~R~C~1A~~~~~~~~~
                                First Last Name                                                                 Second Last Name
     c) ~~~~~S=l=L~~=IA~D~E~·l~~~RM~E~N~~~~~                                                      d) ~--~---~H~O~ND~URA7.=N~-----~~
                                       Name                                                                        Nationality

4.) Authorized marginal notes:

     NONE




Issued in                                   CATACAMAS                                                                                 OLANCHO
                                                   City                                                                                Department

 on the:               SEVENTEENTH
              ~~~~~~~~~~~~~
                                                                day of the month of                                                     JULY
of TWO THOUSAND                              _ _ EIGHTEEN_ _ .
[logo:]                                                                                     [signature]
                                                                                                          [stamp:] [NATIONAL REGISTRY OF PERSONS - RNP
                                                                                                          DIRECTORATE 15 03]
[RNP]
[illegible]                                                                                      Signature and Seal of Director General


                                                                     [watermark: illegible]
                                                                     SIGNATURE AND STAMP OFC/Vll. REGISTRAR




                                                                                                                                                         Exhibit A
                                                                                                                                                          000026
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                                 ~                                               ~.
                 Case 1:18-d,         392 Document 1-1 Filed 10/17/1!,                age 16of19




   ii
TRANSPERFECT




                  City of New York,S~te()fNew York, County of New York




                  I, Aurora Landman, hereby certify that the document, "Birth Certlftcate- EYARIN
                  BRIYANA CANO" is, to the best of my knowledge and belief, a true and accurate
                  translation from Spanish into English.




                  Aurora Landman



                  Sworn to before me this
                  September 24, 2018




                 ~otary              Public




                 Stamp, Notary Public




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                                                                                                         Exhibit A
                                                                                                          000027
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Case 3:18-cv-00428-DMS-AHG Document 289-2 Filed 10/23/18 PageID.4532 Page 18 of 19
                         Case 1:1s-c('392 Document 1-1 Filed 10/17/l(age 18of19
[logo:] RNP                                                      REPUBLIC OF HONDURAS                                                                  No. 59577696
                                                             NATIONAL REGISTRY OF PERSONS
                                                               MUNICIPAL CIVIL REGISTRY

                                                           CERTIFICATION OF BIRTH CERTIFICATE
                                                                        [QR code]
The undersigned Municipal Civil Registrar CERTIFIES that a birth certificate with number:
                          l1 lslolJl-l119lslsl-lolol4IBl71   lde11flllrn111111 M1mh~r

is in the Archives of Births of this office located on folio 137 of volume 06164 for the year 1988 and it belongs to:

a)                              VELASQUEZ                                                      b)                               MOLINA
                                Fint /,a.I'/ Name                                                                            Second Last Name
c)                                                                                                                         F llll                  M Cl

and whose infonnation is the following:

I) Place, date and order of birth


     a)            CATACAMAS                                b)                          OLANCHO                       c)                          HONDURAS
                         City                                                            Department                                                 Country

     d)           TWENTY-TWO                                •)                          FEBRUARY
                         o,,                                                               Month

2.) Identity number, last nan1es 1 first name and nationa!ily of the father:

     a) ~~~~~~-,,:..VE~LA,,,,,S~Q~U~E~Z'--~~~~~­                                                    b) ~~~~~~~~--'-V.~A~R~E=LA-'.,-~~~~~~~~
                                Firsl last Name                                                                               Second Last Name
     c) ~~~~~~--'S~/~l~V~E~Rl~O'--~~~~~~                                                            d) ~~~~~~~--"H~O~N~D~URA:=.=N"--~~~~~~~
                                       Name                                                                                         Nationality
3.) Identity number, last names, first name and nationality of the mother:

                                                                                                    b)~~~~~-.,,......::::;:;:=;:,.~~~~~~
                                                                                                                               Second Last Name
                                                                                                    d) ~~~~~~~--"H~O~~~D~URA:=.=N"--~~~~~-~
                                                                                                                                    Nationality

4.) Authorized marginal notes:

     NONE




Issued in                                    C1TACAMAS                                                                              OLANCHO
                                                    City                                                                            Department

 on the: ----"S"'E"'V"'E'-N'-'T"'E"'E'-N'-'T-"11,_____ day of the month of                                                            JULY
ofTWO THOUSAND                                _ _ EIG11TEEN_ __
[logo:]                                                                                       [signature]
                                                                                                            [stamp:] [NATIONAL REGISTRY OF PERSONS - RNP
                                                                                                            DI RECTO RA TE IS 03]
[RNP]
[illegible]

                                                                       [watermark: illegible]
                                                                      SIGNATURE AND STAMP OFCIVIL REGISTRAR




                                                                                                                                                       Exhibit A
                                                                                                                                                          000029
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                Case 1:18-cr-'392 Document 1-1 Filed 10/17/l(~age 19 of 19




   •
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                 City ofNewYork, State.ofNewYork,Cou11tyofNew York




                 I, Aurora Landman, hereby certify that the document, "Birth Certificate· EGLA
                 ARELY MOLINAN" is, to the best of my knowledge and belief, a true and accurate
                 translation from Spanish into English.




                 Aurora Landman



                Sworn to before me this
                September 24, 2018




                Si~Public


                Stamp, Notary Public



                                Ahli) 'l H!·(•J!Jlf( (
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                                                                                                    Exhibit A
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